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 2
                             UNITED STATES DISTRICT COURT
 3                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 4
        ROBERT SCOTT INGRAM,
 5
                              Petitioner,
 6                                                       C19-1981 TSZ
           v.
 7                                                       ORDER
        DONALD HOLBROOK, Superintendent
 8      of the Washington State Penitentiary,

                              Respondent.
 9

10         Having reviewed the Report and Recommendation of the Honorable Mary Alice

11 Theiler, United States Magistrate Judge, to which no objection was filed, the Court

12 hereby ORDERS:

13         (1)      The Report and Recommendation, docket no. 17, is ADOPTED;

14         (2)      The amended habeas petition, docket no. 8, and this action are DISMISSED

15 without prejudice for failure to prosecute;

16         (3)      A certificate of appealability is DENIED; and

17         (4)      The Clerk is DIRECTED to close this case and to send a copy of this Order

18 to all counsel of record, to petitioner pro se, and to Magistrate Judge Theiler.

19         IT IS SO ORDERED.

20         Dated this 17th day of September, 2020.

21

22
                                                      A
                                                      Thomas S. Zilly
23                                                    United States District Judge

     ORDER - 1
